       Case 4:07-cr-00086-JM       Document 844      Filed 09/29/11     Page 1 of 2


                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA

Vs.                         CASE NO. 4:07cr00086-17 JMM

TERRY L. CREDIT
USM No.: 24617-009


                                   ORDER/JUDGMENT

       The defendant appeared for a hearing on the motion to revoke supervised release

(DE #821) on September 28, 2011.

       The defendant admitted the allegation that he committed another crime on February

5, 2011, when he was arrested by the Mayflower Police Department.

       The defendant denied the allegation on the June 17, 2011 incident. A hearing was

held and the Court heard testimony of witnesses and viewed the defendant’s exhibit. The

Court concluded that there was not enough evidence to revoke based on this allegation.

       Based on the admission of the defendant, the Court granted the motion to revoke on

the February 5, 2011 arrest and imposed sentence.

       The JUDGMENT of the Court is Time Served with a period of six (6) months

supervised release to be completed in a residential reentry center placement. Failure to

successfully complete the rehabilitation will result in an immediate hearing to consider

revocation.

       All other conditions previously imposed remain in effect.

       Defendant is released from the custody of the United States Marshals Service and

shall report to the designated facility as directed by the United States Probation Office.
       Case 4:07-cr-00086-JM      Document 844      Filed 09/29/11    Page 2 of 2


      The Clerk is requested to provide a copy of this Order to the United States Probation

Office and the United States Marshals Service.

      IT IS SO ORDERED this 29th day of September, 2011.




                                          UNITED STATES DISTRICT JUDGE
